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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,

      Plaintiff,

v.

JAMES E. KEMPFER,

      Defendant.                                   Case No. 09-cr-30146-3-DRH



                                     ORDER

HERNDON, Chief Judge:

            Defendant James E. Kempfer appeared before the Court today to be

sentenced. During the sentencing hearing, the Court addressed Defendant’s pending

Motion for Surrender After Sentencing (Doc. 161). Defendant explained that due to

his medical condition, he requests to be allowed to surrender himself to the U.S.

Marshal or the Bureau of Prisons (“BOP”) after June 16, 2010 - the date on which

he has scheduled a follow-up visit with his doctor regarding a medical procedure

Defendant recently underwent. The Court DENIED Defendant’s Motion (Doc. 161).

However, the Court issues this Order so that the BOP may classify Defendant, during

his period of incarceration, with full knowledge of his medical condition.

            For this reason, the Court hereby ORDERS Defendant’s physician, Dr.

Allan L. Liefer, M.D., 1650 State Street, P. O. Box 150, Chester, IL 62233, to


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prepare a written report regarding the following: the tests and/or procedures he

performed on defendant James Kempfer on May 26, 2010, the results of said tests,

his prognosis and treatment plan for defendant Kempfer, any further relevant

information about defendant Kempfer’s medical condition, and his need for any

medications and/or treatments and procedures in the future.         Dr. Liefer shall

forward his written report to defendant Kempfer’s attorney, Ethan Skaggs, as soon

as practicable, so that Mr. Skaggs can provide it to the BOP authorities.

               Additionally, Defendant’s June 16, 2010 appointment with Dr. Liefer is

hereby cancelled, as Defendant has been detained pending his transfer to the BOP

authorities.

               IT IS SO ORDERED.

               Signed this 7th day of June, 2010.


                                              /s/   DavidRHer|do|
                                              Chief Judge
                                              United States District Court




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